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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )    Case No. 4:10 CR 293 RWS
                                           )
QUENTIN LATREL HALL,                       )
                                           )
            Defendant.                     )

                                       ORDER

      This case is before me on Defendant Quentin Latrel Hall’s motion for

compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A). ECF No. [90] and

ECF No. [94]. Hall seeks release due to compelling and extraordinary

circumstances, citing the spread of COVID-19 in prison facilities and a personal

history of asthma. Based on a thorough review of the record, I will deny

Defendant’s motion.

      On May 13, 2011, I sentenced the Hall to 90 months imprisonment to be

followed by a three-year term of supervised release. The defendant is presently

serving his sentence at Greenville FCI in Illinois. Hall is currently scheduled for

release to a residential re-entry center on December 9, 2020 for the last six months

of his term of imprisonment.
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                             Exhaustion of Remedies

      As a threshold matter, Defendant must satisfy the requirement under 18

U.S.C. § 3582(c)(1)(A) to first exhaust his administrative remedies. Although Hall

filed a request with the warden at Greenville FCI, where he is currently

incarcerated, he did not give the warden the requisite thirty days to consider his

request before filing this motion. See U.S. v. Raia, 954 F.3d 594 (3rd Cir. 2020).

Therefore, Hall’s motion must be denied.


                        Extraordinary and Compelling Reasons

      Even if Hall had waited the requisite thirty days, he would not be entitled to

compassionate release. When “extraordinary and compelling reasons warrant” a

sentence reduction, the First Step Act of 2018 grants me authority under certain

circumstances to reduce a defendant’s sentence. 18 U.S.C. § 3582(c)(1)(A)(i).

The challenges posed by COVID-19 present extraordinary and compelling

circumstances for some incarcerated people, especially those with certain

underlying health conditions. In some of those cases, a sentence reduction may be

warranted. See, e.g., United States v. Gene Leonard Smith, No. CR07-3038-LTS,

2020 WL 2844222 (N.D. Iowa June 1, 2020) (Strand, J.) (collecting cases and

finding, “since the beginning of the COVID-19 pandemic, numerous courts have

held that a defendant's health conditions and the presence COVID-19 within BOP
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facilities constitute extraordinary and compelling reasons for compassionate

release”). However, a sentence reduction under 18 U.S.C. § 3582(c)(1)(A)(i)

requires more than just extraordinary and compelling circumstances.

      It is Defendant’s burden to show he is entitled to early release under section

3582(c)(1)(A). See White v. United States, 378 F. Supp. 3d 784, 785 (W.D. Mo.

2019) (citing United States v. Jones, 836 F.3d 896, 899 (8th Cir. 2016)). “In

determining whether to grant a motion to modify a sentence, a court must consider

the factors set forth in 18 U.S.C. § 3553(a).” United States v. Gileno, 2020 WL

1307108, at *1 (D. Conn. Mar. 19, 2020); see also 18 U.S.C. § 3582(c)(1)(A)

(directing courts to consider these factors for every request for early release).

Additionally, “a reduction in sentence under [the First Step Act] requires a

determination that ‘[t]he defendant is not a danger to the safety of any other person

or to the community, as provided in 18 U.S.C. § 3142(g).’” United States v.

Bradley, 2020 WL 3036362, at *1 (D.S.D. June 5, 2020) (citing U.S.S.G. §

1B1.13). A defendant’s failure to show that both section 3142(g) and section

3553(a) favor a reduced sentence is fatal to such a request. See United States v.

Brummett, 2020 WL 1492763, at *3–4 (E.D. Ky. Mar. 27, 2020) (concluding that

the danger defendant posed to the community and the section 3553(a) factors each

provided an independent basis for denying a request for compassionate release).
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      Hall’s circumstances do not clear the high bar necessary to warrant a

sentence reduction. Hall not only fails to establish that extraordinary and

compelling circumstance exist, he also fails to show that he no longer poses a

danger to the community or that the factors in section 3553(a) favor a reduced

sentence. Hall does not provide any medical records to support his asthma

diagnosis. Aside from a comment made by his girlfriend and documented in the

presentence report, Hall does not point to any evidence of a past or continuing

asthma diagnosis, nor does he indicate the severity of his illness. Additionally, Hall

does not address the section 3553(a) factors or section 3142(g). Therefore, his

motion for compassionate release must be denied.


                      Recommendation to Bureau of prisons


      In the alternative, Defendant requested I recommend to the Bureau of

Prisons that he be considered for placement on home confinement. As the U.S.

Attorney’s office correctly notes, I do not have jurisdiction to select the place

where a sentence will be served. That authority resides in the executive branch and

is delegated to the Bureau of Prisons. See 18 USC §3621. But I do have the

discretion to make a recommendation to the Bureau of Prisons as to Hall’s

placement. See 18 USC §3621(b). However, for the reasons discussed above, I am

not inclined to make such recommendation.
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     Accordingly,


     IT IS HEREBY ORDERED that Defendant’s motion for compassionate

release, ECF NO. [90] and ECF NO. [94], is DENIED without prejudice.




                                         RODNEY W. SIPPEL
                                         UNITED STATES DISTRICT JUDGE
     Dated this 19th day of June 2020.
